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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

JOY TILLERY MEDLEY


               Plaintiff,

V.                                                 CIVIL ACTION NO



DIVERSIFIED CONSULTANTS, INC.


               Defendant.                          OCTOBER 14, 2015



                                            COMPLAINT

         Plaintiff, sues Defendant a licensed collection agency, which is illegally doing business in

         Connecticut and alleges:


I. PRELIMINARY STATEMENT

         1. This is an action brought pursuant to 15 D.S.C. § 1692, et sequi, known more

commonly as the "Fair Debt Collection Practices Act" ("FDCPA"), which prohibits debt

collectors from engaging in abusive, deceptive and unfair practices.


II. JURISDICTION

         2. The jurisdiction of this Court arises under 15 U.S.C. §1692k and 28 U.S.C.

§1337.


Ill. ALLEGATIONS AS TO PARTIES

         3. Plaintiff is a resident of Danbury, CT.
         4. At all times material hereto, Defendant, Diversified Consultants, Inc.
("Collection Agency), was licensed as a collection agency as required by the Connecticut
Department of Banking..
         5. At all times material hereto, Defendant was doing business in Connecticut.
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        6. At all times material hereto, Defendant, was acting like a licensed collection agency
with a principal place of business at 10550 Deerwood Park Boulevard
Suite 309, Jacksonville, FL 32256


        7. Defendant is or was engaged in the collection of debts from consumers using

the mail and telephone. Defendant attempted to collect consumer debts alleged to be due to

another in the State of Connecticut.

IV. FACTUAL ALLEGATIONS

       8. Defendant is the collection agent for “Verizon” and regularly collected or attempted
to collect monies from consumers for delinquent or alleged delinquent personal debt.

       9. On October 9, 2015, Defendant through a collection agent who identified herself as

Alisha Hardgrove communicated with the Plaintiff for the purpose of collecting monies for an

alleged delinquent cell phone debt purportedly owed by plaintiff.



V. DEFENDANTS' PRACTICES
       10. It is or was the policy and practice of Defendant to communicate with Connecticut

consumers in a manner which was reasonably calculated to confuse or frustrate, or mislead MD

consumers in violation of the FDCPA §1692e.

       11. Defendant communicated with the Plaintiff and attempted to collect this alleged debt,

which was not owed by her. She did not incur this debt, nor executed any contract for this debt.

VI. ALLEGATIONS OF LAW

A. General
      12. At all times material hereto, plaintiff was a "consumer" as said term is

defined under 15 U.S.C. §1692a (3).
       13. At all times material hereto, “Verizon”, represented by Defendant was a "creditor" as

said term is defined under 15 U.S.C. §1692a (4).

       14. At all times material hereto, the amount purportedly owed to “Verizon” represented

by Defendant was a "debt" as said term is defined under 15 U.S.C. §1692a (5).
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A. Unlawful Claim
        15. With respect to the attempt by Defendant to collect the alleged debt as more

particularly described above, the conduct of Defendant violated the FDCPA, including but not

limited to:

               a. The use of false representations, deceptive or misleading representations or
means to collect or attempt to collect a debt in violation of 15 U.S.C. §1692e.

                b. Plaintiff disputed this alleged debt, Defendant through their collection agent

stated “If you are disputing the debt that means you owe it.” False, Deceptive and Misleading

statement in violation of §1692e.

                c. Defendant failed to identify that she was calling from a collection agency,

Defendant stated she was calling from Verizon. Defendant failed to advise the Plaintiff of her

rights under §1692e (11).

                d. Defendant failed to mail an initial collection letter to the Plaintiff. Plaintiff

was totally unaware of her rights under the FDCPA, validation of debts clause §1692g.



        16. As a result of Defendant’s' conduct, Plaintiff is entitled to an award
of actual and statutory damages pursuant to 15 U.S.C. §1692k.
        17. Plaintiff is entitled to an award of costs and attorneys fees pursuant
to 15 U.S.C. § 1692k.

WHEREFORE, Plaintiff, an individual, requests judgment be entered in her favor
against Defendant for:

       1.       Actual and statutory damages pursuant to 15 U.S.C. §1692k;
       2.       An award of costs and attorney's fees pursuant to 15 U.S.C. § 1692k; and
       3.       Such other and further relief as the Court may deem just and equitable.
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                               THE PLAINTIFF
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